               Case 2:02-md-01468-JWL Document 1051 Filed 11/19/08 Page 1 of 1


AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 United States District Court
                                                         DISTRICT OF                           KANSAS

IN RE: UNIVERSAL SERVICE FUND
TELEPHONE BILLING PRACTICES
LITIGATION                                                                  JUDGMENT IN A CIVIL CASE
This Judgment relates to all cases

                                     V.
                                                                            CASE NUMBER: 02-md-1468




  ✘   Jury Verdict. This action came before the Court for a trial by jury, The issues have been tried and the jury has rendered
      its verdict.
      Decision by Court. This action came before the Court. The issues have been considered and a decision has been
      rendered.

 IT IS ORDERED AND ADJUDGED

 that judgment is entered against defendant AT&T and in favor of the plaintiff subclass of AT&T's California
 residential long-distance customers on that subclass's claim for breach of contract in the amount of $16,881,000
 (Sixteen million, eight hundred eighty-one thousand dollars), with interest thereon at rate of 1.12 percent as
 provided by law. As to all other claims, judgment is entered in favor of defendant AT&T.




 November 19, 2008                                                  TIMOTHY
                                                                    RALPH L. M. O'BRIEN
                                                                             DeLOACH
Date                                                                Clerk


                                                                                       s/ Sharon Scheurer
                                                                   (By) Deputy Clerk
